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Honourable Judge John Dorsey
United States Bankruptcy Court
District of Delaware
824 N Market St
5th Floor, Courtroom 5
Wilmington, DE 19801
302-533-3169                                                                                                                      September 12th, 2023




Re:        FTX TRADING LTD Chapter 11
           22-11068-JTD



Dear Honourable Judge John Dorsey,


I would like to begin with an apology at having to write to you directly in the above matter and
extend my advance appreciation that you will take valuable time to read this letter. I have no
doubt you are extraordinarily busy, so I have not taken my decision lightly to write to you. My
motivation is borne out of the frustration as an FTX customer having to watch from the sidelines
as events in the FTX bankruptcy process unfold. I’m not a legal professional and quite unfamiliar
with the Court processes in the United States so I appreciate your understanding if my
terminology is at all misplaced.


This letter respectfully seeks to draw the Courts attention to timely matters related to the wrong-
footed approach by the FTX Debtors (“Debtors”) who are looking down the wrong end of the
telescope at FTX.com customers (“Customers”).


I'd like to begin by briefly outlining my story:




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I write as an international FTX.com customer both on behalf of my company and personally. I
was interested in purchasing cryptocurrency in 2022 when I became aware of FTX.com which
operated as a cryptocurrency exchange. It provided necessary services to exchange fiat currency
for crypto currency and vice versa, and to exchange one crypto currency to another. It was an on-
ramp from fiat to digital and off-ramp from digital back to fiat. I would later summarily explain
its function as being comparable to a currency bureau that you may visit to buy foreign currency
for an overseas trip, except rather than buying/selling Euros or Peso it was for buying/selling
digital currencies like Bitcoin, Ethereum, and XRP.


I undertook reasonable due diligence into FTX.com before opening accounts - certainly as much
as a retail account holder might be expected to do:


• At that time FTX had very good public standing with Sam Bankman-Fried widely heralded as
   a successful crypto leader and entrepreneur;

• FTX.com was headquartered in Bahamas which operates as a constitutional parliamentary
   democracy forming part of the British Commonwealth that applies English Common Law as
   its legal system (at no point did I consider adverse proceedings might end up in US Courts);

• FTX.com was registered with the Securities Commission of Bahamas which provided
   regulatory governance under the Digital Assets and Registered Exchanges Act, 2020 (“DARE”)
   to protect investors and consumers. This included provision for ‘Adequate systems and controls
   for digital token exchanges’ [see https://www.scb.gov.bs/wp-content/uploads/2020/10/Digital-
   Assets-and-Registered-Exchanges-Bill-2020-13-October-2020.pdf, Section 17] and imposed
   conduct and compliance requirements as part of its operational safeguarding. The registration
   further required FTX.com to demonstrate necessary “supervisory, internal controls and risk
   management policies and procedures, including digital token management, cybersecurity operations,
   operational controls, AML/CFT policies and controls, reporting policies, code of conduct” [DARE
   First Schedule Part A, Item 8];

• FTX.us was a separate entity albeit part of the FTX group of companies and being based in the
   United States was subject to similar federal regulation, including by the Securities and
   Exchange Commission ("SEC"). To my mind it would have been inconceivable for the SEC




                                                  [2]
   to have been blind to FTX given it was one of the largest and most prominent cryptocurrency
   exchanges on the planet, and consequently the SEC would likely have been neglecting its
   mission to protect retail investors if it had not engaged at some level to evaluate and approve
   the FTX operation. In response to considerable marketing campaigns and advertising by
   FTX, the SEC had raised no flags or issued specific warnings to investors and consumers;

• FTX.com was reported to have been audited (by Prager Metis), and although I could not find
   or access detailed audit documents, I considered that had there been an adverse audit issue it
   would no doubt have been reported in the press or elsewhere in the public domain given the
   prominence of FTX.com, and;

• FTX was extremely popular having positive endorsement far and wide - it enjoyed great public
   support from celebrities, politicians, and business leaders alike.


But, for me, the clincher was found in FTX.com Terms of Service ("ToS") [DOC 328-2] which
were stated to be governed by English Law, and these were clear and unambiguous to lay out the
interest FTX.com would hold in my property and how FTX.com would treat my digital assets it
held in trust [ToS, 8.2.6]:

        "8.2.6 All Digital Assets are held in your Account on the following basis:

        (A) Title to your Digital Assets shall at all times remain with you and shall not transfer
        to FTX Trading. As the owner of Digital Assets in your Account, you shall bear all risk
        of loss of such Digital Assets. FTX Trading shall have no liability for fluctuations in
        the fiat currency value of Digital Assets held in your Account.

        (B) None of the Digital Assets in your Account are the property of, or shall or may be
        loaned to, FTX Trading; FTX Trading does not represent or treat Digital Assets in
        User’s Accounts as belonging to FTX Trading.

        (C) You control the Digital Assets held in your Account. At any time, subject to
        outages, downtime, and other applicable policies (including the Terms), you may
        withdraw your Digital Assets by sending them to a different blockchain address
        controlled by you or a third party."


Based on the foregoing, I opened accounts (a business and a personal account) and after
depositing fiat currency began purchasing cryptocurrencies. Each cryptocurrency held on
FTX.com had a unique wallet address for deposits and withdrawals which appeared as a standard
blockchain address as used by other exchanges and wallets for transfer and storage of
cryptocurrencies. In this regard the process was seamless, straightforward, well executed, and easy



                                                    [3]
to use. I continued to buy more digital assets. I withdrew digital currency to non-FTX wallets
and transferred it back again when I wanted to sell. On the date FTX filed for bankruptcy my
accounts held various cryptocurrency balances.


I should like to pause briefly to mention that there has been speculation from some
commentators that buying/selling cryptocurrencies on FTX.com was perhaps a phantom event
divorced from reality such that the crypto in my account was not really mine. In response I refer
to the Terms under which my digital assets were held in trust, and which plainly established my
property interest including the absolute control I had over my digital assets. Certainly, as a
customer I considered I was buying Bitcoin, Ethereum or XRP when exchanging my deposited
fiat currency – this was the stated purpose of the exchange after all. Furthermore, I had no
adverse issue moving digital currencies from/to FTX.com which allayed concerns over my crypto
balances being my property. And even if my balances held on FTX.com were (wrongly) deemed
as some form of promissory note then it would be no different to the status of the fiat currency
held in my pocket (“I promise to pay the bearer on demand the sum of ...”).


When I first became aware of the adverse issues at FTX.com I tried to withdraw my balances to
non-FTX wallets, but the events of the collapse had taken over and FTX.com had stopped
processing withdrawals (although not for Bahamians for whom FTX.com continued to process
around $100 million in withdrawals until the bankruptcy application was made). At that same
time, FTX.us was still solvent and was processing withdrawals for its US customers, though given
the subsequent identified co-mingling of funds, it’s possible that my digital assets were diverted to
underwrite withdrawals at FTX.us for US customers. It’s also possible my digital assets remain in
wallets being used by the Debtors to pay on-going expenses, including the very hefty legal fees, or
in wallets earmarked for exchange into USD.


What transpired at FTX.com was undoubtedly unlawful. Key actors like Caroline Ellison, Gary
Wang, Nishad Singh, and just recently Ryan Salame, have all plead guilty to related federal
charges. There can be no dispute that FTX broke its ToS and acted with malfeasance when it
took my digital assets. On December 13th 2022, FTX CEO John J. Ray stated to the House
Financial Services Committee about events at FTX, “This is really old-fashioned embezzlement.




                                                 [4]
This is just taking money from customers and using it for your own purpose.”, and I agree with the
character of that observation. FTX.com had taken my property and used it for a purpose to
which I did not consent. In this context, my account balances might be characterised as
nondischargeable debt which cannot be eliminated through the bankruptcy proceedings, yet
despite references to unlawfulness, the Debtors have proceeded to treat Customers with stolen
cryptocurrencies as common creditors with preferential standing below other classes of creditors
(some of whom are set to be fully reimbursed but, as far as I’m aware, who falls into the higher
preferential classes of creditors are yet to be announced). However, and notwithstanding there is
a debt, it is my reasonable contention that the Debtor’s position is incorrect as a matter of law.
My digital assets were my property held on trust at FTX and therefore they fall outside of the
FTX.com bankruptcy estate. This view is unambiguously conveyed in the ToS (“None of the
Digital Assets in your Account are the property of ... FTX Trading”).


Recently, the Debtors have set out draft proposals to monetise the balances held in my account.
Their intention to determine a valuation for settlement proposes a calculation to convert my
crypto currency balances into USD-equivalent fiat currency using an exchange rate valuation as-
was on November 11th, 2022, the bankruptcy filing date (“Filing Date”). This is wrong-footed
and unacceptable.


Additionally, there is pending motion before the Court which seeks permission to sell-off all
digital assets, though since the Debtors have reported there was co-mingling of funds, it is entirely
reasonable to assume some, if not all, of these cryptocurrencies include safeguarded Customer
property. This too is wrong-footed and unacceptable.


Firstly, it is my understanding in English Law, under which FTX.com ToS apply [ToS, 38.11],
that cryptocurrencies are recognised as ‘property’ capable of being held in trust. International
Court rulings have confirmed cryptocurrencies constitute ‘property’, albeit intangible by nature,
including the Hong Kong Court in the ruling of Re Gatecoin Limited (In Liquidation) [see
judgment at https://legalref.judiciary.hk/lrs/common/ju/ju_frame.jsp?DIS=151622] which
provides legal certainty that cryptocurrencies are capable of being held for distribution to
creditors, and the legal rights of owners to crypto property in the event of fraud. Conveniently,




                                                  [5]
the Gatecoin judgment provides several relevant authorities on the matter of crypto ‘property’
which for the sake of brevity I shall not repeat here.


This Court is aware of the characterisation as it has received legal arguments from the Ad-Hoc
Committee so I shall not dwell further than necessary, other than to comment I consider I’m well
founded to assert proprietary claims over the cryptocurrencies held in my FTX.com accounts, and
which rightfully places my digital assets outside the FTX.com estate. In any reasonable legal
jurisdiction, I’m entitled to have stolen property returned, and in that regard, I don’t consent to
the Debtors proposal to substitute my digital assets for USD currency - especially when the
Debtors have the wherewith-all to transact cryptocurrencies. In this regard, I hope that the Court
will find as I do that the proposed course of action to convert all digital assets into USD by the
Debtors is incorrect.


Secondly, the ToS provided clear warranty over my property interests (“Title to your Digital Assets
shall at all times remain with you and shall not transfer to FTX Trading.”) which assured FTX.com
would protect my digital assets it held in trust (“None of the Digital Assets in your Account are the
property of, or shall or may be loaned to, FTX Trading; FTX Trading does not represent or treat
Digital Assets in User’s Accounts as belonging to FTX Trading.”). And yet, the present proposals by
Debtors to monetise my crypto balances continues to breach these Terms of trust by taking
control of my property and unreasonably substituting it for a different asset. Moreover, building
on John J Ray’s words (regarding “embezzlement”) and the identified co-mingling of Customer’s
digital assets, the Debtors are petitioning the Court to sell-off (stolen) property and I appeal to
the Court to provide clear directions to reset the current momentum, as in principle, handling
stolen property variously infringes the Law.


Notably, the ToS did not provide the same unambiguous property interests or express trust
arrangement for fiat currency, or ‘E-Money’, held in my account. The Terms are not explicit but
suggest “… we may redeem any E-Money remaining in your Account and attempt to transfer the
equivalent amount of fiat currency to the bank account you have registered with us.” [ToS, 8.3.8]
which somewhat supports the general proposals now being made by the Debtors but importantly,




                                                  [6]
this is limited to relate to fiat currency and not digital assets. In a similar vein, FTX.us applied
different Terms of Service for its US Customers and I offer no comment over those terms.


Thirdly, Cryptocurrencies are characteristically a form of ‘currency’ albeit in a digital and non-
tangible format - a fact which the Debtors appear keen to skate over in these proceedings (which
is surprising given FTX’s business was a crypto currency exchange). It’s relevant for the Court
not to overlook that fiat currencies commonly function by means of digital non-tangible
transactions via debit and credit card transactions, bank transfers, standing orders, even PayPal
style service providers that altogether mean we don’t rely on carrying cash in our pockets to buy
goods and services. Cryptocurrencies operate in the same way with thousands of merchants
accepting crypto in exchange for the same goods and services from groceries to cars, hotels,
flights, taxis, real estate, education, and everything in between. And many crypto exchanges,
digital wallet providers, and other crypto related services provide standard payment cards linked
to crypto wallets that offer a seamless payment bridge between fiat and crypto. Given the
strikingly similarities it follows that, for example, 1 BTC can reasonably be replaced with another
1 BTC just as $1 can reasonably be replaced by another $1 albeit the serial number on the dollar
bill would be different just as when depositing $1 with a bank there is no reasonable expectation
to have the exact same dollar bill returned later on via an ATM withdrawal. The same principles
apply to cryptocurrency which might have a different blockchain address. There ought to be no
sound reason, as the Courts have held, that cryptocurrencies should not be used to repay
Customers.


Fourthly, it is perhaps relevant to underline to the Court that any USD-equivalent valuation of
my crypto based on the exchange rates as-at the Filing Date bakes-in the adverse impacts of the
crypto market crash that was directly caused by the adverse chain of events at FTX. To apply this
timestamp would be a further adverse blow causing further loss following the initial theft of my
property.


Related, the crypto exchange markets are already anticipating the Court judgment on the Debtors
petition to sell-off billions of USD-worth of digital assets causing market exchange rates to fall –
which action consequently means the Debtors, if successful in their ambition, will not realise the




                                                  [7]
best or most favourable return for Customers or creditors. Moreover, it would likely be a false
economy for the Debtors to sell-off digital assets they should reasonably have to re-purchase later
to return to Customers.


Having regard to the Debtors proposals to monetise my account it is worth noting my USD
balance is unaffected by the monetisation proposal - $1 on the Filing Date is still worth $1 now,
save for the impacts of inflation. However, although 1 BTC, 1 ETH or 1 XRP is still worth 1
BTC, 1 ETH or 1 XRP today, the exchange rate between these cryptos and fiat currency has been
fluctuating affecting the USD-equivalent valuations. It’s fair to say that I would not have freely
sold my digital assets at the bottom of a market crash (or in the present market situation) and it’s
unreasonable in the circumstances for the Debtors to seek to impose this baseline for the
bankruptcy proceedings.


I respectfully ask the Court to direct the Debtors to revise their proposals to reasonably
accommodate the return of Customer’s cryptocurrencies which FTX took and misappropriated
contrary to its unambiguous ToS, and to make such an undertaking on a preferential basis above
creditors since these stolen digital assets do not form part of the property of the FTX.com
bankruptcy estate. I’m not blind to the fact that the Debtors are presently unable to fully
compensate Customers or creditors and that a (interim) pro-rated repayment is to be expected.
I’m also open-minded to support a future rebooted FTX.com operation that could have the
potential to remedy any shortfall in full repayment of my property, perhaps conveyed in the form
of an IOU liability with reasonable terms so-as not to stifle or deter operations. Any other
proposal, including to convert my digital currency to USD at an unfavourable rate is prejudiced
by design against full recovery of my property. If the present trajectory is unchanged, the
Debtors proposed plan to reimburse my stolen crypto might be compared with a car thief, who
stole and crashed a car, with the Court subsequently consenting to a valuation of the vehicle in its
post-accident state and for the crook to pay fractional compensation in Venezuelan bolívar.


In summary, I appeal to the Court to uphold other Court judgments to acknowledge the digital
assets in my FTX.com accounts were held in trust and not the property of FTX.com, and




                                                 [8]
consequently to suggest some timely changes which could render matters acceptable to put the
Debtors back on the right track.


Lastly, I should also like to briefly note to the Court that since the Kroll Restructuring
Administration (“Kroll”) adverse security incident that was notified on August 25th, 2023 which
resulted in Customer’s personal data (name, address, email address, and the balances in FTX
account) being exposed to third-parties, the affected Customer accounts have been frozen on the
claims portal. The Court may or may not be aware that since this date Kroll have been
unresponsive and unable to resume service. As of writing today I remain unable to access the
claims portal (and it’s my understanding I’m not alone with various internet forums and social
media alight with comments from Customers in a similar situation). It is unclear to me what
remedies the Court might be able to take in this unforeseen circumstance, but at a minimum, it
would be appreciated if the Court could request a full briefing from Kroll and consider reviewing
the Customer Bar Date which is due on September 29th, 2023.


Respectfully,




Simon Carter
Director




                                                 [9]
